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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                         :
 MAMBU BAYOH,                            :
                                         :
                          Plaintiff,     :            18cv5820 (DLC)
                                         :
                -v-                      :                 ORDER
                                         :
 AFROPUNK LLC, MATTHEW MORGAN and        :
 JOCELYN COOPER, individually,           :
                                         :
                          Defendants.    :
                                         :
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DENISE COTE, District Judge:

     On October 15, 2020, the defendants sent material

concerning the above-captioned case to this Court’s Chambers

email inbox.   The same day, this Court issued an Order

instructing the defendants to file the material on ECF and make

any appropriate request through ECF to file such information

under seal or in redacted form.      On October 16, the defendants

attempted to file their material on ECF in redacted form, but

apparently by mistake, they filed the material in unredacted

form.   As a curative measure, the Court placed the materials

under seal in their entirety.

     Motions in limine in this case were due with the parties’

pretrial orders, which were submitted on Friday, October 16.             On

October 16, the defendants filed motions in limine, as set forth
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in Section 5 of this Court’s Individual Practices.         Accordingly,

it is hereby

     ORDERED that the plaintiff’s opposition to the defendants’

motions in limine is due Friday, October 23 pursuant to Section

5 of this Court’s Individual Practices.

     IT IS FURTHER ORDERED that the defendants shall refile any

redacted or sealed material before the final pretrial conference

on Thursday, October 22 by complying with the procedures set

forth in Section 6 of the S.D.N.Y. Electronic Case Filing Rules

and Instructions and Section 7 of this Court’s Individual

Practices.     The defendants are advised to contact the ECF Help

Desk with any questions regarding the ECF filing procedures.

Dated:    New York, New York
          October 20, 2020


                                  __________________________________
                                             DENISE COTE
                                     United States District Judge




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